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                                 No. 24-1936

 UNITED STATES COURT OF APPEALS FOR THE FEDERAL CIRCUIT

TEVA BRANDED PHARMACEUTICAL PRODUCTS R&D, INC., NORTON
  (WATERFORD) LTD., AND TEVA PHARMACEUTICALS USA, INC.,

                                                 Plaintiffs-Appellants,
                                      v.
   AMNEAL PHARMACEUTICALS OF NEW YORK, LLC, AMNEAL
   IRELAND LIMITED, AMNEAL PHARMACEUTICALS LLC, AND
             AMNEAL PHARMACEUTICALS INC.,

                                                 Defendants-Appellees.

  Appeal from the United States District Court for the District of New Jersey
             Case No. 2:23-cv-20964, Judge Stanley R. Chesler

                    APPELLEES’ RESPONSE BRIEF


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Counsel for Appellees

August 30, 2024
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                         PATENT CLAIM LANGUAGE

U.S. Patent No. 9,463,289

Claim 1: An inhaler for metered dose inhalation, the inhaler comprising:

   a main body having a canister housing,

   a medicament canister, which is moveable relative to the canister housing and
      retained in a central outlet port of the canister housing arranged to mate with a
      canister fire stem of the medicament canister, and

   a dose counter having an actuation member having at least a portion thereof
      located in the canister housing for operation by movement of the medicament
      canister,

   wherein the canister housing has an inner wall, and a first inner wall canister
     support formation extending inwardly from a main surface of the inner wall,
     and

   wherein the canister housing has a longitudinal axis X which passes through the
     center of the central outlet port,

   the inner wall canister support formation, the actuation member, and the central
      outlet port lying in a common plane coincident with the longitudinal axis X.




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FORM 9. Certificate of Interest                                                                                                 Form 9 (p. 1)
                                                                                                                                 March 2023


                          UNITED STATES COURT OF APPEALS
                             FOR THE FEDERAL CIRCUIT

                                          CERTIFICATE OF INTEREST

             Case Number 2024-1936
   Short Case Caption Teva Branded Pharmaceutical Products R&D, Inc. v. Amneal Pharmaceuticals of New York, LLC
   Filing Party/Entity Amneal Pharmaceuticals of New York, LLC; Amneal Ireland Limited; Amneal Pharmaceuticals LLC; Amneal Pharmaceuticals, Inc.



 Instructions:

     1. Complete each section of the form and select none or N/A if appropriate.

     2. Please enter only one item per box; attach additional pages as needed, and
        check the box to indicate such pages are attached.

     3. In answering Sections 2 and 3, be specific as to which represented entities
        the answers apply; lack of specificity may result in non-compliance.

     4. Please do not duplicate entries within Section 5.

     5. Counsel must file an amended Certificate of Interest within seven days after
        any information on this form changes. Fed. Cir. R. 47.4(c).


  I certify the following information and any attached sheets are accurate and
  complete to the best of my knowledge.


        08/30/2024
  Date: _________________                                        Signature:             /s/ Steven A. Maddox

                                                                 Name:                  Steven A. Maddox




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FORM 9. Certificate of Interest                                                               Form 9 (p. 2)
                                                                                               March 2023


     1. Represented                           2. Real Party in             3. Parent Corporations
         Entities.                                Interest.                   and Stockholders.
   Fed. Cir. R. 47.4(a)(1).                 Fed. Cir. R. 47.4(a)(2).         Fed. Cir. R. 47.4(a)(3).
 Provide the full names of                Provide the full names of        Provide the full names of
 all entities represented by              all real parties in interest     all parent corporations for
 undersigned counsel in                   for the entities. Do not list    the entities and all
 this case.                               the real parties if they are     publicly held companies
                                          the same as the entities.        that own 10% or more
                                                                           stock in the entities.

                                          ‫܆‬
                                          ✔ None/Not Applicable            ‫ ܆‬None/Not Applicable
Amneal Pharmaceuticals of New York,
                                                                          See attached.
LLC


Amneal Ireland Limited                                                    See attached.

Amneal Pharmaceuticals LLC                                                See attached.

Amneal Pharmaceuticals, Inc.                                              See attached.




                                      ‫܆‬
                                      ✔
                                             Additional pages attached




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FORM 9. Certificate of Interest                                                                      Form 9 (p. 3)
                                                                                                      March 2023


 4. Legal Representatives. List all law firms, partners, and associates that (a)
 appeared for the entities in the originating court or agency or (b) are expected to
 appear in this court for the entities. Do not include those who have already entered
 an appearance in this court. Fed. Cir. R. 47.4(a)(4).
 ‫܆‬           None/Not Applicable                                ‫܆‬      Additional pages attached
Melissa Hatch O'Donnell, Robin P. Sumner, and Andrew
P. Zappia of Troutman Pepper Hamilton Sanders LLC




Rebekah R. Conroy and Shalom D. Stone
of Stone Conroy LLC




 5. Related Cases. Other than the originating case(s) for this case, are there
 related or prior cases that meet the criteria under Fed. Cir. R. 47.5(a)?
 ‫ ܆‬Yes (file separate notice; see below) ‫ ܆‬No
   ✔
                                                                             ‫ ܆‬N/A (amicus/movant)
 If yes, concurrently file a separate Notice of Related Case Information that complies
 with Fed. Cir. R. 47.5(b). Please do not duplicate information. This separate
 Notice must only be filed with the first Certificate of Interest or, subsequently, if
 information changes during the pendency of the appeal. Fed. Cir. R. 47.5(b).


 6. Organizational Victims and Bankruptcy Cases. Provide any information
 required under Fed. R. App. P. 26.1(b) (organizational victims in criminal cases)
 and 26.1(c) (bankruptcy case debtors and trustees). Fed. Cir. R. 47.4(a)(6).
 ‫܆‬
 ✔           None/Not Applicable                                ‫܆‬      Additional pages attached




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                     STATEMENT OF RELATED CASES

      No appeal in or from the same civil action was previously before this or any

other appellate court. There are two pending cases that will directly affect or be

directly affected by this Court’s decision in the instant appeal: Teva Branded

Pharm. Prods. R&D, Inc. v. Deva Holding A.S., No. 2:24-cv-04404 (D.N.J.

complaint filed March 29, 2024) and Teva Branded Pharm. Prods. R&D, Inc. v.

Cipla Ltd., No. 2023-2241 (Fed. Cir. appeal docketed August 4, 2023).




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                     TABLE OF ABBREVIATIONS

Abbreviation             Description

Amneal                   Defendants-Appellees
                         Amicus Curiae Sanofi-Aventis U.S. LLC (“Sanofi”) and
Amici
                         AstraZeneca Pharmaceuticals LP (“AstraZeneca”)
ANDA                     Abbreviated New Drug Application
                         U.S. Patent Nos. 8,132,712; 9,463,289; 9,808,587;
Asserted Patents
                         10,561,808; and 11,395,889
FDA                      United States Food and Drug Administration

FDCA                     Federal Food, Drug, and Cosmetic Act

FTC                      United States Federal Trade Commission

GAO                      United States Government Accountability Office

Listing Statute          21 U.S.C. § 355(b)(1)(A)(viii)

NDA                      New Drug Application

OBTA                     Orange Book Transparency Act of 2020
                         Approved Drug Products with Therapeutic Equivalence
Orange Book
                         Evaluations
ProAir                   ProAir® HFA (albuterol sulfate) Inhalation Aerosol

Teva                     Plaintiffs-Appellants




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                                INTRODUCTION

      The Court should affirm the district court’s injunction ordering Teva to de-

list the Asserted Patents from the FDA’s Orange Book. The district court properly

construed the Listing Statute and applied it to the undisputed facts.

      Each of the Asserted Patents fails to meet the Listing Statute’s requirement

of being a “drug product (formulation or composition) patent” that “claims the

drug for which the applicant submitted the application.” 21 U.S.C.

§ 355(b)(1)(A)(viii)(I). The FDA defines a “drug product” as “a finished dosage

form…that contains a drug substance, generally, but not necessarily, in association

with one or more other ingredients.” 21 C.F.R. § 314.3 (emphasis added). The

“drug for which [Teva] submitted the application” is ProAir® HFA (albuterol

sulfate) Inhalation Aerosol (“ProAir”). As the name suggests, it is a drug product

in which albuterol sulfate is the drug substance.

      It is undisputed, however, that the Asserted Patent claims do not recite,

identify or refer to the drug substance—albuterol sulfate—as a part of the claimed

inventions. Indeed, they do not recite any specific drug substance as part of any

claimed invention. Rather, all of these claims are directed solely to mechanical

inhaler devices and components of such devices. Accordingly, the district court

correctly determined that the Asserted Patents do not claim ProAir.




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        Teva and Amici seek in effect to rewrite the Listing Statute—by construing

“claims” to mean “reads on any part of.” Thus, Teva argues that each Asserted

Patent “claims” ProAir because it “reads on” the mechanical inhaler device

component of Proair. Teva’s proposed construction is contrary to the meaning of

“claims” taken in the context of the statutory text and contrary to black letter patent

law, the legislative history, and the FDA’s definition of “drug product.”

        Further, the Court should reject Teva’s bid to remand for claim construction.

Even under Teva’s extraordinary constructions, the Asserted Patent claims do not

recite, identify, or refer to the ProAir drug substance—albuterol sulfate—as a part

of the claimed inventions. Thus, even if the claims were construed as Teva

proposes, the Asserted Patents still would not qualify for listing in the Orange

Book.

         STATEMENT OF THE ISSUES PRESENTED FOR REVIEW

        1.    Whether a patent qualifies for listing in the Orange Book under the

Listing Statute, when that patent has no claims requiring the NDA drug substance

to be present in the claimed invention.

        2.    Whether remand for claim construction is required when appellant’s

own proposed claim constructions do not require the NDA drug substance to be

present in any of the claimed inventions.




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                    CONCISE STATEMENT OF THE CASE

I.    The Listing Statute, its legislative history, and the regulatory scheme

      The FDCA is part of a detailed scheme governing approval of new drugs by

the FDA. The FDCA prohibits a company from introducing a new drug into

commerce unless the company submits an NDA which gets approved by the FDA.

21 U.S.C. § 355(a).

      The FDCA lists eight categories of information and samples that must be

submitted as part of an NDA for a drug:

      (i)    full reports of investigations…to show whether such drug is [safe and
             effective];
      (ii) a full list of the articles used as components of such drug;
      (iii) a full statement of the composition of such drug;
      (iv) a full description of the methods[,] facilities and controls used [to
             make and pack] such drug;
      (v) …samples of such drug and of the articles used as components [of
             such drug];
      (vi) [labeling] specimens to be used for such drug;
      (vii) any assessments required under [21 U.S.C. §355(c)]; and
      (viii) the patent number and expiration date of each patent for which a
             claim of patent infringement could reasonably be asserted if a
             person not licensed by the owner of the patent engaged in the
             manufacture, use, or sale of the drug, and that—

             (I)    claims the drug for which the applicant submitted the
                    application and is a drug substance (active ingredient)
                    patent or a drug product (formulation or composition)
                    patent; or

             (II)   claims a method of using such drug for which approval is
                    sought or has been granted in the application.




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21 U.S.C. § 355(b)(1)(A)(i-viii) (emphasis added). The final item in this list of

NDA submission requirements, shown in bold above, is the Listing Statute. The

proper interpretation of the Listing Statute is the central issue in this appeal.

       An NDA must contain information on patents that meet the criteria of the

Listing Statute, and applicants are prohibited from submitting information on

patents that are not eligible under these criteria. 21 U.S.C. § 355(c)(2) (“Patent

information that is not the type of patent information required by subsection

(b)(1)(A)(viii) shall not be submitted . . . .”).

       A patent is only eligible for submission if it satisfies the first clause of the

Listing Statute (the infringement clause). 21 U.S.C. § 355(b)(1)(A)(viii). The

infringement clause requires that there be a reasonable basis to assert that the

patent would be infringed by the unauthorized manufacture, use, or sale of the

NDA drug. Id.

       The second clause of the Listing Statute identifies two types of patents

potentially eligible for submission—a “drug substance (active ingredient) patent”

and a “drug product (formulation or composition) patent”—and requires that any

such patent also be one that “claims the drug for which the applicant submitted the

application.” 21 U.S.C. § 355(b)(1)(A)(viii)(I). The “application” in this context is




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the NDA. As noted above, to qualify for submission, these patent types must also

satisfy the separate infringement clause.1

      The language in the Listing Statute identifying these two patent types—“a

drug substance (active ingredient) patent” and “a drug product (formulation or

composition) patent” was added by the OBTA in 2021. Orange Book Transparency

Act of 2020, Pub. L. No. 116-290, 134 Stat. 4889 at Section (b)(1)(A)(viii) (Jan. 5,

2021). Prior to the OBTA, the Listing Statute requirement (for non-method of use

patents) was merely to submit “any patent which claims the drug for which the

applicant submitted the application.” H.R. Rep. No. 116-47 at 9-10 (2019) (reciting

then-existing law in brackets).

      This language added by the OBTA was borrowed directly from the FDA

regulation implementing a prior version of the Listing Statute. That regulation

(which is still in force), states that patents to be submitted under the Listing Statute

“. . . consist of drug substance (active ingredient) patents, drug product

(formulation and composition) patents, and method-of-use patents.” 21 C.F.R. §

314.53(b). Indeed, the Committee Report for the OBTA acknowledged that it was

codifying existing regulations. H.R. Rep. No. 116-47 at 6 (2019) (“H.R. 1503




1
  Of less relevance to this appeal, the final clause of the Listing Statute identifies a
third patent type potentially eligible for submission, namely patents claiming
certain “methods of using” the NDA drug. 21 U.S.C. § 355(b)(1)(A)(viii)(II).

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would codify current regulations and practice regarding the types of patent and

exclusivity-related information listed in the Orange Book.”).

      The OBTA also restructured the Listing Statute to make the infringement

requirement expressly apply to drug substance and drug product patents. It did this

by nesting clauses I and II under the infringement requirement. Compare H.R.

Rep. No. 116-47 at 9-10 (2019) with Orange Book Transparency Act of 2020, Pub.

L. No. 116-290, 134 Stat. 4889 at Section (b)(1)(A)(viii) (Jan. 5, 2021).

      The OBTA was introduced in response to a concern that brand companies

were “submitting patents potentially for the purpose of blocking generic

competition.” H.R. Rep. No. 116-47 at 4 (2019). The Committee Report cited a

paper analyzing the proliferation of device patents submitted under the auspices of

the Listing Statute for drug device combination products, including, most

commonly, inhalers. Id. at 4, n.3 (committee report); Appx1043-44 (paper cited in

committee report). The paper noted that listing of delivery device patents in the

Orange Book was delaying generic entry by a median of 3.4 years. (Appx.1044.)

      In its implementing regulation, the FDA has interpreted the “claims the

drug” and “drug product” patent requirements in tandem, and has invoked its

definition of “drug product.” The regulation states that “[f]or patents that claim a

drug product, the applicant must submit information only on those patents that




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claim the drug product, as is defined in [21 C.F.R.] § 314.3, that is described in the

pending or approved NDA.” 21 C.F.R. § 314.53(b).2

      FDA’s definition of “drug product” requires the presence of a drug

substance: “Drug product is a finished dosage form, e.g., tablet, capsule, or

solution, that contains a drug substance, generally, but not necessarily, in

association with one or more other ingredients.” 21 C.F.R. § 314.3 (emphasis

added).

      The FDCA defines the term “drug” broadly as:

      (A) articles recognized in [certain compendia]; and (B) articles intended
      for use in the diagnosis, cure, mitigation, treatment, or prevention of
      disease in man or other animals; and (C) articles (other than food)
      intended to affect the structure or any function of the body of man or
      other animals; and (D) articles intended for use as a component of any
      article specified in clause (A), (B), or (C).

21 U.S.C. § 321(g)(1).

      The FDCA similarly defines the term “device” as:

      an instrument, apparatus, implement, machine, contrivance, implant, in
      vitro reagent, or other similar or related article, including any
      component, part, or accessory, which is — (A) recognized in [certain
      compendia], (B) intended for use in the diagnosis of disease or other
      conditions, or in the cure, mitigation, treatment, or prevention of
      disease, in man or other animals, or (C) intended to affect the structure
      or any function of the body of man or other animals, and which does
      not achieve its primary intended purposes through chemical action
      within or on the body of man or other animals and which is not


2
  The FDA has also interpreted the “claims the drug” requirement in tandem with
the “drug substance” patent requirement. Id.

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      dependent upon being metabolized for the achievement of its primary
      intended purposes.

21 U.S.C. § 321(h)(1).

      The interplay of these two definitions is such that as a matter of law, the

FDCA prohibits the FDA from treating a device as if it were a “drug.” Genus

Medical Techs. LLC v. United States, 994 F.3d 631, 644 (D.C. Cir. 2021). This is

true even though the term “drug” is so broadly defined that it linguistically could

include a device. Id.

      Patents submitted with an NDA under the auspices of the Listing Statute are

published by the FDA in a public database called the “Orange Book.” 21 C.F.R.

§ 314.53(e); Apotex, Inc. v. Thompson, 347 F.3d 1335, 1338 (Fed. Cir. 2003). The

FDA has adopted a purely “ministerial” role with respect to which patents get

listed in the Orange Book. That is, FDA does not screen patents to ensure they

satisfy the requirements of the Listing Statute, and will not remove any patents

from the Orange Book unless the NDA holder requests removal. Apotex, 347 F.3d

at 1347; 21 C.F.R. § 314.53(f).

      The listing of patents in the Orange Book for a given NDA product triggers

significant rights and duties under the Hatch-Waxman provisions of the FDCA. If

another company seeks FDA approval of an ANDA for a generic version of an

NDA product, the ANDA must address each listed patent. 21 U.S.C.

§ 355(j)(2)(A)(vii). If the ANDA applicant requests that the FDA approve its

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ANDA prior to expiration of a listed patent, the ANDA applicant must (a) include

in the ANDA a “paragraph IV” certification that the listed patent is invalid or

would not be infringed, (b) timely notify the NDA holder of its submission, and

(c) timely provide the NDA holder with a detailed statement of the factual and

legal basis for its opinion that the patent is invalid or would not be infringed. 21

U.S.C. § 355(j)(2)(A)(vii)(IV), -(B)(iv)(II).

      The submission of an ANDA containing a paragraph IV certification triggers

the ability of the NDA holder to sue for patent infringement. 35 U.S.C.

§ 271(e)(2)(A). If that lawsuit is timely brought, it triggers an automatic 30-month

stay of final FDA approval of the ANDA. 21 U.S.C. § 355(j)(5)(B)(iii). If the NDA

holder prevails on the listed patent in the lawsuit, it is entitled by statute to an

injunction that prevents the FDA from approving the ANDA product until after the

listed patent expires. 35 U.S.C. § 271(e)(4)(A).

      In a lawsuit brought under these Hatch-Waxman provisions, the ANDA

applicant can counterclaim for an order requiring the NDA holder to correct or

delete the patent information in the Orange Book. 21 U.S.C. § 355(j)(5)(C)(ii)(I).

II.   District court proceedings

      Teva submitted the Asserted Patents for listing in the Orange Book in

connection with ProAir, and they are currently listed there. (Appx67-69.) Amneal

submitted an ANDA for a generic version of ProAir, and Teva sued, asserting



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claims for infringement under the Hatch-Waxman Act (35 U.S.C. § 271(e)) and

claims for a declaratory judgment of infringement under 35 U.S.C. § 271(a).

(Appx72-90.) Teva’s claims under the Hatch-Waxman Act triggered a stay of FDA

approval of Amneal’s ANDA that is set to expire in February 2026.

      Shortly after Teva sued, the FTC asked Teva to remove the Asserted Patents

(among others) from the Orange Book. (Appx813-14.) Teva has not done so.

(Appx810.)

      Amneal counterclaimed seeking an order compelling Teva to remove the

Asserted Patents from the Orange Book listing for ProAir. (Appx-320-35.) Teva

moved to dismiss those counterclaims, and Amneal moved for judgment on the

pleadings in its favor on those same counterclaims. (Appx32.) The FTC filed an

amicus brief in support of delisting the Asserted Patents. (Appx1274-1320.)

      The district court denied Teva’s motion to dismiss and granted Amneal’s

motion for judgment on the pleadings. (Appx24-40.) The district court found that

none of the Asserted Patents qualified for listing in the Orange Book because none

“claim[s] the drug for which the applicant submitted the application.” (Appx33.)

Guided by the Second Circuit’s decision in United Food v. Takeda Pharm. Co.

Ltd., 11 F.4th 118, 134 (2d Cir. 2021) the district court construed the term “claims”

in the Listing Statute as having its established meaning in patent law, concluding




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that “a patent claims only that subject matter that it has particularly pointed out as

the invention, and no more.” (Appx36-37.)

      The district court rejected Teva’s reliance on the broad definition of “drug”

in the FDCA, because the Listing Statute required a drug product patent to claim

not just any “drug,” but specifically “the drug for which the applicant submitted

the application.” (Appx38.) The district court noted that Teva had failed to get

around the restrictiveness of this requirement. (Appx38.)

      Based upon similar reasoning, the district court also rejected Teva’s

contention that the Asserted Patents are “drug product” patents as required by the

Listing Statute. (Appx38-39.) The district court relied on the FDA definition of

“drug product” as a “finished dosage form” and the FDA regulation indicating that

the only listable drug product patents are those that claim the specific drug product

“described in the…NDA.” (Id.) The district court concluded that the Asserted

Patents do not claim the “finished dosage form” that is the subject of the NDA.

(Appx39.)

      The district entered an injunction ordering Teva to request removal of the

Asserted Patents from the Orange Book. (Appx40.) This Court expedited the

briefing and stayed the district court order until further notice. The case is

otherwise proceeding in the district court with the 30-month stay still in effect.




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                       SUMMARY OF THE ARGUMENT

I.    A. The Asserted Patents do not satisfy the requirements of the Listing

Statute, and should be removed from the Orange Book listing for ProAir. The

Listing Statute identifies specific kinds of patents as eligible for listing. One such

type is a “drug product” patent. To qualify for listing, “drug product” patent must

satisfy three criteria. First, it must be a “patent for which a claim of infringement

could reasonably be asserted [against unauthorized] manufacture, use or sale” of

the NDA product. 21 U.S.C. § 355(b)(1)(A)(viii). In other words, it must be

infringed by the NDA product. Second, the patent must be a “drug product” patent,

which simply means that it must claim a drug product. 21 U.S.C.

§ 355(b)(1)(A)(viii)(I). Third, the patent must “claim[] the drug for which the

applicant submitted the application.” Id.

      The second and third requirements work in tandem to require a drug product

patent to claim not just any “drug product,” but the specific NDA “drug product,”

as that term is defined by the FDA. 21 C.F.R. § 314.53(b). Importantly, the FDA

defines “drug product” such that it must contain a drug substance, which is also

known as an “active ingredient.” 21 C.F.R. § 314.3.

      In view of these requirements, the Listing Statute is properly construed to

permit listing a “drug product” patent in the Orange Book only if it has at least one

claim requiring the active ingredient of the NDA to be present in the claimed



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invention. This construction harmonizes (a) the restrictive, product-specific

language of the Listing Statute, (b) the FDA definition of “drug product” requiring

the presence of the active ingredient, and (c) the plain meaning of “claims” under

black letter patent law as “particularly pointing out and distinctly claiming that

which the applicant regards as its invention.” Hoechst-Roussel Pharms., Inc. v.

Lehman, 109 F.3d 756, 758-59 (Fed. Cir. 1997); 35 U.S.C. § 112.

      Teva’s and Amici’s contrary interpretation of the Listing Statute is

erroneous. According to Teva and Amici, the term “claims the drug” means “reads

on the drug.” Under Teva’s interpretation, if the NDA product would infringe a

claim in the patent, then the patent “claims” the NDA product. This interpretation

is incorrect for several reasons. First, it departs from the meaning of “claims”

under black letter patent law, ignoring both the statutory meaning of “claims,” and

the well-established distinction between what a patent “claims” and what infringes

a patent. 35 U.S.C. §112; Hoechst, 109 F.3d at 758-59; Graver Tank & Mfg. Co.,

Inc. v. Linde Air Prods. Co., 339 U.S. 605 (1950).

      Second, Teva’s interpretation is presumptively incorrect because it would

render the “claims the drug” requirement superfluous. Facebook, Inc. v. Windy

City Innovations, LLC, 973 F.3d 1321, 1336 (Fed. Cir. 2020); Arlington Cent. Sch.

Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 299 n.1 (2006). Specifically, the first

clause of the Listing Statute requires that the NDA product infringe the patent. 21


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U.S.C. § 355(b)(1)(A)(viii). In view of this separate infringement requirement, the

“claims the drug” requirement in the second clause must require more than merely

infringement by the NDA product.

      Third, Teva’s interpretation is more permissive than a fair reading of the

Listing Statute when it comes to the listing of component patents (i.e., patents that

require only a component of the drug product). Specifically, Teva’s interpretation

would open the Orange Book up to any type of component patent, regardless of its

nature. But the Listing Statute is far more restrictive about authorizing listing of

component patents. Even though the adjacent NDA submission provisions broadly

require NDA applicants to submit information and samples of all components of

the NDA drug, the Listing Statute does not broadly permit listing of any kind

component patents. Instead, it specifically and narrowly permits listing of only one

kind: “a drug substance (active ingredient) patent.” 21 U.S.C. §

355(b)(1)(A)(viii)(I). Under standard principles of statutory construction, this

implies that patents on other kinds of drug components are not authorized.

Syngenta Crop Protection, LLC v. Willowood, LLC, 944 F.3d 1344, 1361 (Fed.

Cir. 2019).

      Fourth, Teva’s interpretation of the Listing Statute is especially problematic

as applied to device patents, like the Asserted Patents. Teva relies on the FDCA’s

general definition of “drug” because it is broad enough on its face to include


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device components. Thus, Teva argues that a patent claiming a device component

of a drug-device combination product can satisfy the “claims the drug”

requirement of the Listing Statute.

      But it does not make sense to plug the “component” aspect of the definition

of “drug” into the Listing Statute. The Listing Statute requires that the patent claim

not just any drug, but specifically “the drug for which the applicant submitted the

application.” Here, Teva submitted its application for the entirety of the ProAir

product, not just for the inhaler device component of that product. This incongruity

shows that the general definition of “drug” cannot be applied in the manner

suggested by Teva. Lawson v. Suwannee Fruit & S.S. Co., 336 U.S. 198, 206

(1949).

      Moreover, purely as a matter of law, the FDCA prohibits the FDA from

treating a device as if it were a drug Genus Medical Techs. LLC v. FDA, 994 F.3d

631, 644 (D.C. Cir. 2021). By extension, the FDCA must prohibit FDA from

treating patents claiming only a device as if they claimed a drug. Listing device

patents, which do not require the presence of an active ingredient, would violate

this prohibition.

      B. The Asserted Patents do not qualify under the Listing Statute for

inclusion in the Orange Book. The “drug for which [Teva] submitted the

application” is ProAir. The active ingredient of ProAir is albuterol sulfate. Yet


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none of the Asserted Patents has any claim that requires the presence of albuterol

sulfate in the claimed invention. Thus, none qualify for listing as a “drug product”

patent that “claims the drug for which [Teva] submitted the application.” The

Asserted Patents should be removed from the Orange Book.

        II. The Court should not remand for claim construction because it would not

change the result. Teva’s proposed claim constructions merely posit the presence

of some unidentified, non-specific “active drug.” But none of Teva’s proposed

claim constructions would require albuterol sulfate to be present in any claim of

any Asserted Patent. Accordingly, even under Teva’s proposed claim

constructions, the Asserted Patents would not qualify for listing in the Orange

Book.

                                    ARGUMENT

        Properly construed, the Listing Statute requires a “drug product” patent to

have at least one claim requiring the NDA drug substance to be present in the

claimed invention. This construction best harmonizes the restrictive, product-

specific language of the Listing Statute, the meaning of “claims” under black letter

patent law, and the FDA’s definition of “drug product” requiring the presence of

the drug substance.

        The plain language of the Listing Statute points to this construction. The

Listing Statute does not broadly authorize listing of any “drug product” patent.



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Instead, it authorizes listing a “drug product” patent only if that patent “claims the

[NDA] drug.” 21 U.S.C. § 355(b)(1)(A)(viii)(I). Further, the Listing Statute does

not authorize listing a patent claiming any kind of component found in the NDA

product. Instead, it conspicuously authorizes listing of only one kind of component

patent, a “drug substance (active ingredient) patent.” Id.

      The legislative history of the Listing Statute also supports this interpretation

of the Listing Statute. It shows congressional intent to curtail the listing of device

component patents specifically. (Infra at 40-42.)

      Requiring the presence of the NDA drug substance in the claimed invention

of a “drug product” patent also squares with FDA’s definition of “drug product.”

The FDA’s definition of a “drug product” requires the presence of a drug substance

in a drug product. Applying this definition to the Listing Statute, a patent does not

claim a “drug product” if none of its claims require the drug substance to be

present in the claimed invention.

      None of the Asserted Patents qualify for the Orange Book under this proper

interpretation of the Listing Statute. Teva offers the Asserted Patents as “drug

product” patents, but none claims an invention that requires the presence of

albuterol sulfate. Accordingly, none is a “drug product” patent that “claims the

[NDA] drug” for which Teva submitted its NDA. None of the Asserted Patents

even mentions albuterol sulfate.


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      Teva’s contrary and expansive interpretation of the Listing Statute—that a

patent “claims the drug” if any part of the NDA product would infringe the

patent—is both erroneous and problematic. First, Teva’s interpretation strays from

the controlling black letter patent law, which is that a patent “claims” an invention

by “particularly pointing out and distinctly claiming what the applicant regards as

its invention.” 35 U.S.C. § 112. Along the way, Teva departs from this Court’s

precedent to erroneously equate claiming with being infringed. Second, Teva’s

interpretation would render the “claims the drug” requirement superfluous in view

of the separate “infringement” requirement in the Listing Statute, which already

requires the NDA product to infringe the patent. Third, Teva’s interpretation

ignores the FDA’s definition of a “drug product,” which requires the presence of a

drug substance in a drug product. Fourth, Teva’s interpretation would open up the

Orange Book to patents on any aspect of the NDA product or any component that

happens to be found in the NDA product. This result contravenes the specific and

restrictive authorization to list only one kind of drug component patent: a drug

substance patent.

      The restrictive nature of the Listing Statute makes sense in view of the

powerful exclusionary rights bestowed on Orange Book patents, including

automatic preliminary injunction just for asserting them, and automatic permanent

injunction if patentee prevails. These powerful rights—which no other patents


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carry—should not be bestowed liberally. This is especially so because FDA does

not gatekeep or police the Orange Book. It only makes sense, then, that the Listing

Statute was written and amended—and should be construed—to permit listing of

drug product patents only if they are specific to the NDA product.

      Requiring that a product patent be listable only if it requires the presence of

the NDA drug substance in the invention is consistent with the language and

purpose of the Listing Statute, and better serves the goals of Hatch-Waxman. It

also provides a clear rule that will allow stakeholders to more confidently order

their affairs when it comes to the listing of patents in the Orange Book.

      Finally, no remand for claim construction is required to affirm. None of

Teva’s proposed constructions would require albuterol sulfate to be part of the

claimed invention. Thus, even if adopted, Teva’s proposed constructions would not

qualify the Asserted Patents for listing in the Orange Book. The Court should

affirm.

I.    The Asserted Patents do not qualify for listing in the Orange Book.

      A.     To qualify for Orange Book listing, a “drug product” patent must
             require the NDA drug substance to be present in the claimed
             invention.

      The correct interpretation of the Listing Statute is that a “drug product”

patent must require the NDA drug substance to be present in the claimed invention.

This inclusion in the claimed invention can be articulated as “particularly pointing



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out and distinctly claiming,” “mentioning,” “reciting,” “explicitly including,” or

the like. Such a requirement harmonizes the black letter meaning of “claims” in

patent law, its usage in the OBTA itself, the specificity of the Listing Statute, the

relevant legislative history, and FDA’s express definition of “drug product,” which

requires the presence of the active ingredient.

      The Listing Statute permits listing of a “drug product” patent3 only if it

“claims the drug for which the applicant submitted the application.” 21 U.S.C.

§ 355(b)(1)(A)(viii)(I). Read in tandem, the “claims the drug” requirement and the

“drug product” patent requirement impose a highly specific requirement, that a

drug product patent must claim the specific NDA drug product at issue. This is

precisely how the FDA has interpreted the Listing Statute. 21 C.F.R. § 314.53

(“[f]or patents that claim a drug product, the applicant must submit information

only on those patents that claim the drug product, as is defined in § 314.3, that is

described in the pending or approved NDA.”) (emphasis added).4

      Importantly, in its regulation implementing the Listing Statute, the FDA has

invoked its definition of “drug product,” which is “a finished dosage form . . . that



3
  The parties agree that a “drug product” patent is one that claims a “drug product.”
(Teva Br. at 50.)
4
  The FDA echoed this regulation in its comments on the listing requirements,
explaining that in making a listing determination, “[t]he key factor is whether the
patent being submitted claims the finished dosage form of the approved drug
product.” 68 Fed. Reg. 36,676, 36,680 (June 18, 2003) (emphasis added).

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contains a drug substance, generally, but not necessarily, in association with one

or more other ingredients.” 21 C.F.R. § 314.3 (emphasis added).5 This definition

underscores in several ways the commonsense notion that a drug substance is a

required part of a “drug product.” First, according to the definition, a drug product

“contains a drug substance.” Id. (emphasis added). Second, the definition contrasts

the mandatory nature of the drug substance requirement with the optional nature of

“other ingredients,” as the latter are “not necessarily” included in a drug product.

Id. Third, the definition notes that a “drug product” is not just any dosage form, but

a “finished dosage form.” Id. (emphasis added). Finally, the definition indicates

that a “drug product” is a kind of “dosage form,” which the FDA also defines as

containing the “active ingredient.” 21 C.F.R. § 314.3 (“Dosage form is the physical

manifestation containing the active and inactive ingredients that delivers a dose of

the drug product.”).6

      The FDA definition of “drug product” is especially informative here,

because the corresponding statutory language “drug product (formulation or

composition) patents” came directly from the FDA’s implementing regulation.

That regulation—21 C.F.R. §314.53—has been in effect since at least 2003, and,

as noted above, expressly invokes the FDA definition of “drug product.” 68 Fed.


5
  The FDCA does not provide a definition of “drug product.”
6
  The Listing Statute also equates the terms “drug substance” and “active
ingredient.” 21 U.S.C. § 355(b)(1)(A)(viii)(I).

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Reg. 36,676, 36,703 (June 18, 2003). And indeed, the OBTA, which was enacted

in 2021, was intended to “codify current regulations and practice regarding the

types of patent . . . information listed in the Orange Book.” H.R. Rep. No. 116-47

at 6 (2019). This suggests that in the Listing Statute, Congress used the phrase

“drug product” as defined by FDA: to refer to a product that necessarily contains a

drug substance.

      Notably, Teva itself has argued that drug product patents must require the

presence of the active ingredient to qualify for listing in the Orange Book, even

under the less restrictive pre-OBTA Listing Statute:

      patents relating solely to ‘physical manifestations,’ such as delivery
      systems that do not contain the active ingredient, are not patents relating
      to finished dosage forms of the drug product described in the NDA. In
      other words, patents reciting such physical manifestations do not
      ‘claim’ ‘the drug’ and therefore should not be listed in the Orange
      Book.

Warner Chilcott (US), LLC v. Teva Pharms. USA, Inc., No. 18-1241 (Fed. Cir.

May 15, 2018), ECF No. 50, Corrected Non-Confidential Joint Appendix at

Appx5183-5204 (emphasis in original).

      In short, because a “drug product” requires the presence of a drug substance

in the product, a “drug product” patent must likewise require the presence of a

drug substance in the claimed product. Further, because a drug product patent must




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also claim the specific NDA drug, such a patent must, at a minimum, require the

presence of the particular drug substance in the NDA product. 7

      This interpretation of the Listing Statute harmonizes the specific meaning of

“claims” under black letter patent law, the specific and restrictive language of the

Listing Statute, and its legislative history. Teva, by contrast, seeks a highly

permissive interpretation of the Listing Statute that is contrary to the meaning of

“claims,” the Listing Statute, and its legislative history. As explained below,

Teva’s various arguments are misplaced.

             1.     The correct meaning of “claims” requires particularly pointing
                    out and distinctly claiming the invention, not merely being
                    infringed.

      Under settled statutory patent law, a patent “claims” something by

“particularly pointing out and distinctly claiming the subject matter which the

inventor . . . regards as the invention.” 35 U.S.C. § 112(b). This Court has already

acknowledged and applied this as the “settled ordinary meaning of the term

‘claims’…”. Hoechst-Roussel Pharms., Inc. v. Lehman, 109 F.3d 756, 758-59

(Fed. Cir. 1997). Thus, a patent “claims” something by particularly pointing out

and distinctly claiming it.



7
  To resolve the present dispute, the Court need not determine what other aspects
of the NDA product (if any) a patent must require to qualify for listing as a drug
product patent. It need only determine that at a minimum, such a patent must
require the NDA drug substance to be present in the claimed invention.

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      As this Court has also explained, the words of the claim do the claiming.

Corning Glass Works v. Sumimoto Elec. U.S.A., Inc., 868 F.2d 1251, 1258 (Fed.

Cir. 1989) (explaining that the “wordings of a claim describe and point out the

invention by a series of limiting words or phrases,” known as “limitations”)

(cleaned up). Thus, when determining what a patent “claims,” the focus should be

on what words are present in (or absent from) the claims.

      Congress employed this usage in the OBTA itself. In the OBTA, Congress

directed the GAO to submit data on claims in listed patents “that claim a device

that is used for the delivery of the drug, but do not claim such device in

combination with an active ingredient or formulation of a drug.” Orange Book

Transparency Act of 2020, Pub. L. No. 116-290, 134 Stat. 4889, 4892 (Jan. 5,

2021). Clearly, Congress was using “claim” the same way it is defined in the

patent statute: to refer to the affirmative limitations expressly recited in the claims.

      The FDA, too, has embraced this patent law meaning of “claims.” In 2002,

FDA proposed a rule expressly requiring listing of “product by process” patents.

67 Fed. Reg. 65,448, 65,452 (Oct. 24, 2002). In support, the FDA explained that

such patents “claim” a drug product precisely because their claims “must

particularly point out and distinctly claim the product or genus of products for

which patent protection is sought . . . .” Id. (emphasis added). The FDA later

characterized this as follows: “a product-by-process patent claims a product by


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describing or listing process steps to wholly or partially define the claimed

product.” 68 Fed. Reg. 36,676, 36,679 (June 18, 2003) (emphasis added).

      This plain meaning of “claims” is also intuitive. Consider, for example, a

patent with a single claim reciting “a brake assembly comprising a brake pad

mounted to a metal disk.” It would make sense to say that such a patent “claims” a

particular kind of brake assembly. But it would not make sense to say that such a

patent “claims” a 2024 Ford Bronco, even though the Bronco uses the claimed

brake assembly.

      The First and Second Circuits have also properly embraced this approach to

determining what a patent “claims” under the Listing Statute. In In re Lantus, the

First Circuit held that a patent claiming a device intended for use in an injector pen

was not properly listed in the Orange Book for an insulin glargine injector pen,

because the claims of the patent “do not mention the drug.” In re Lantus Direct

Purchaser Antitrust Litig., 950 F.3d 1, 7-8 (1st Cir. 2020). Citing In re Lantus, the

Second Circuit explained in United Food that under the Listing Statute, “a patent

claim that fails to explicitly include the drug” does not “claim the drug.” United

Food v. Takeda Pharm. Co. Ltd., 11 F.4th 118, 134-35 (2d Cir. 2021).

      FDA commentary on the Listing Statute is also consistent with requiring a

specific reference to the NDA drug substance in the claims of a drug product for it

to be listable. In 1997, the FDA published Guidance for Industry in the form of


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“Hatch-Waxman Letters” from 1985 and 1986, in which FDA twice explained that

a drug product patent must explicitly “refer to” the NDA product. See 1985 Hatch-

Waxman Letter at PDF p.4 of 4 (noting that “[a] patent that claims a drug, unlike a

patent that claims a use, must refer to an approved drug product.”) (emphasis

added);8 see also 1986 Hatch-Waxman Letter at PDF p.3 of 8 (noting that “NDA

applicants should only file information on those patents that refer to an approved

drug product.”) (emphasis added).9

        At its core, Teva’s contrary interpretation is that if the NDA product would

infringe a claim in the patent, then the patent necessarily “claims” the NDA

product. (Teva Br. at 13-14, 21-25.) Amici have the same general interpretation.

(Sanofi Br. at 12-21; AstraZeneca Br. at 3-11.) But this Court has already rejected

such an approach, because conflating “claiming” with “being infringed” is contrary

to patent law.

        In Hoechst, this Court interpreted the phrase “a patent which claims a

product,” which appears in the patent term extension provision of the Hatch-

Waxman Act. Hoechst, 109 F.3d at 758-60 (interpreting 35 U.S.C. § 156). There,

the patentee offered essentially the same argument Teva does here, “that a patent

‘claims’ an FDA-approved product . . . if the FDA-approved product would



8
    Available at https://www.fda.gov/media/149035/download?attachment.
9
    Available at https://www.fda.gov/media/149030/download?attachment.

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infringe a claim of that patent.” Id. at 758. This Court rejected that argument.

Citing the patent statute and the doctrine of equivalents, this Court explained that

“the concept of a claim is different from the concept of infringement, and, as a

result, the plain meaning of ‘claims’ is not the same as the plain meaning of

infringement.” Id. at 759. As the FDA itself has acknowledged, the reasoning in

Hoechst also applies to the Listing Statute. 67 Fed. Reg. 65,448, 65,451 (Oct. 24,

2002) (discussing Hoechst, then noting that “[t]he court’s reasoning and conclusion

are equally applicable to patent listings.”) Likewise, under the “reverse” doctrine

of equivalents, even if a product falls within the literal scope of a claim, it does

necessarily infringe that claim. Graver Tank & Mfg. Co., Inc. v. Linde Air Prods.

Co., 339 U.S. 605 (1950); SRI Int’l v. Matsushita Electrical Corp. of America, 775

F.2d 1107, 1118 (Fed. Cir. 1985).

      Accordingly, under long-established doctrines of patent law, that which a

patent “claims” is not defined merely by what infringes that patent. Teva’s

interpretation and suggestion—that what a patent “claims” is “effectively

coterminous” with whatever products infringe that patent (Teva Br. at 21-22,

n.7)—contradicts settled distinctions between what a patent “claims,” on the one

hand, and what might infringe that patent, on the other hand.

      Teva also leans heavily on this Court’s decision in Apotex, Inc. v. Thompson,

347 F.3d 1335 (Fed. Cir. 2003), but that decision did not change the plain meaning


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of “claims” under the patent statute. Nor is Apotex controlling here, as Teva

contends. (Teva Br. at 24-25.)

      In Apotex, Apotex sued the FDA seeking to require FDA to de-list certain

patents. Apotex, 347 F.3d at 1340. The district court dismissed, finding no cause of

action existed against FDA to require de-listing. Id. at 1341. On appeal, this Court

determined that the Federal Circuit (as opposed to a regional circuit) had

jurisdiction because the question of whether a patent qualified for listing arose

under an Act of Congress relating to patents. Id. at 1342-44. In doing so, this Court

reasoned that the listing decision implicates an issue of patent law because it

“requires what amounts to a finding of patent infringement, except that the

‘accused product’ is the drug that is the subject of the NDA . . . .” Id. at 1343-44.

      As an initial matter, this statement does not prove Teva’s point. At most, this

statement acknowledges the unremarkable proposition that—consistent with the

infringement clause of the Listing Statute—one precondition for listing a patent in

the Orange Book is that the NDA product must infringe that patent. But Apotex

only states that such infringement is necessary for listing, not that it is sufficient.

      In any event, the statements from Apotex on which Teva relies are dicta. The

Apotex panel was not resolving a dispute over the proper interpretation of the

Listing Statute, let alone the particular dispute presented in this appeal; it was

merely explaining that the case arose under patent law, such that the Federal


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Circuit, and not a regional circuit, had jurisdiction. Id. Second, having found

jurisdiction, id. at 1344, the Court did not even evaluate (let alone decide) whether

any given patent or category of patents qualified for listing. Instead, the Court

merely held that the FDA was not required to adjudicate patent listing disputes. Id.

at 1352.

      Teva cites Envirotech Corp. v. Al George, Inc., 730 F.2d 753, 759 (Fed. Cir.

1984) for the proposition that “a patent ‘claims’ a product if making, using, or

selling that product would infringe the patent.” (Teva Br. at 13.) But Envirotech

says nothing of the sort. It does not address what it means for a patent to “claim”

something. Instead, it merely notes that “[i]f the accused matter falls clearly within

the terms of the claim, infringement is normally made out.” Envirotech, 730 F.2d

at 759.

      Nor does United Food support Teva’s interpretation of the Listing Statute.

(Teva Br. at 16, 38-39.) There, the patent did not qualify for listing because it

required a drug substance not present in the NDA product, and therefore the NDA

product did not infringe the patent. United Food, 11 F.4th at 132. As explained

above regarding Apotex, this only demonstrates that infringement by the NDA

product is necessary to qualify for listing, not that infringement alone is sufficient

for a “drug product” patent to satisfy the “claims the drug” requirement.




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             2.    Teva’s interpretation of “claims” contradicts the Listing Statute.

      Teva’s interpretation does not square with the structure and context of the

Listing Statute. First, Teva’s interpretation cannot be correct because it would

render the “claims the drug” requirement superfluous. There is a strong

presumption against such an interpretation. See, e.g., Facebook, Inc. v. Windy City

Innovations, LLC, 973 F.3d 1321, 1336 (Fed. Cir. 2020). Specifically, the first

clause of the Listing Statute requires that each listed patent be one “for which a

claim of patent infringement could reasonably be asserted if [an unauthorized]

person…engaged in the manufacture, use, or sale of the [NDA] drug.” 21 U.S.C. §

355(b)(1)(A)(viii). This “infringement” clause already requires a patent to read on

the NDA product. Indeed, a claim of patent infringement could not “reasonably be

asserted” against the manufacture of the NDA product unless the asserted patent

“reads on” that product.10

      Accordingly, the independent requirement that a listable product patent also

“claims the [NDA] drug” must require more than merely showing that the NDA

drug “reads on” the patent. This is also consistent with the plain meaning of

“claims” discussed above, further indicating that a product patent only “claims the




10
  Teva does not address this problem, arguing against only the reverse
proposition—that its interpretation of “claims the drug” does not render the
infringement clause superfluous. (Teva Br. at 41-42; see also Sanofi Br. at 20.)

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[NDA] drug” if at least one of its claims “particularly point[s] out and distinctly

claim[s]” that NDA drug.

      Second, Teva’s interpretation is far more expansive than afforded by a fair

reading of the Listing Statute. Under Teva’s interpretation, a patent is listable if it

claims any component found in the NDA product. (Teva Br. 43-44.) But the

Listing Statute contains no provision authorizing the listing of patents claiming any

or all kinds component found in the NDA product. To the contrary, the Listing

Statute authorizes listing of only one type of component patent: a “drug substance

(active ingredient) patent.” 21 U.S.C. § 355(b)(1)(A)(viii)(I); 59 Fed. Reg. 50,338

at 50,347, 50,350, 50,361 (Oct. 3, 1994) (FDA identifying the drug substance as a

“component” of the drug product).

      Viewed in the context of the subsection in which the Listing Statute appears,

it is clear that Congress did not intend the listing of any other kinds of drug

component patents, let alone all other kinds, as Teva’s interpretation would permit.

The Listing Statute is part of a subsection of the FDCA listing eight categories of

information and things that an applicant must submit with its NDA. 21 U.S.C. §

355(b)(1)(A)(i)-(viii). That list includes both “a full list of the articles used as

components of [the NDA] drug,” and “samples . . . of the articles used as

components” of the NDA drug. 21 U.S.C. § 355(b)(1)(A)(ii) and (v).




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      Congress thus required NDA applicants to submit a full list and samples of

all its NDA drug components, yet when it came to the final item in this same list—

the Listing Statute itself—Congress did not authorize submission of all kinds of

component patents. Instead, Congress authorized listing of only one specific kind

of component patent: the “drug substance (active ingredient) patent.” 21 U.S.C.

§ 355(b)(1)(A)(viii)(I).

      This is doubly significant for purposes of construing the Listing Statute. It

indicates that Congress purposefully excluded other kinds of component patents

from listing in the Orange Book. Syngenta Crop Protection, LLC, 944 F.3d at 1361

(“Where Congress includes particular language in one section of a statute but omits

it in another section of the same Act, it is generally presumed that Congress acts

intentionally and purposely in the disparate inclusion or exclusion.”) (quoting

Rodriguez v. U.S., 480 U.S. 522, 525 (1987)).

      It also shows that Teva’s interpretation would render the “drug substance”

category superfluous. Indeed, if patents claiming any type of component found in

the NDA product were listable as “drug product” patents, there would have been

no need for the Listing Statute to specify “drug substance” patents as a listable

category of patents. There is a strong presumption against interpretations that

render statutory language superfluous. See, e.g., Facebook, Inc. v. Windy City

Innovations, LLC, 973 F.3d 1321, 1336 (Fed. Cir. 2020); Arlington Cent. Sch. Dist.


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Bd. of Educ. v. Murphy, 548 U.S. 291, 299 n.1 (2006). Teva has not overcome this

presumption.

      Third, the fallacy of Teva’s interpretation is exposed by the text of the

OBTA itself. As noted above, in the OBTA, Congress directed the GAO to submit

data on claims in Orange Book patents “that claim a device that is used for the

delivery of the drug, but do not claim such device in combination with an active

ingredient or formulation of a drug.” (Supra at 24-25; Orange Book Transparency

Act of 2020, Pub. L. No. 116-290, 134 Stat. 4889, 4892 (Jan 5, 2021).) This

directive would make no sense under Teva’s proposed interpretation of “claims.”

Under Teva’s interpretation, all “patents that ‘claim’ a device that is used for the

delivery of the drug” would necessarily also “claim such device in combination

with an active ingredient or formulation of that drug.” Under Teva’s interpretation,

Congress nonsensically directed the GAO to provide data on a set of patents that

(axiomatically, under Teva’s interpretation) could not exist. Clearly, Congress did

not use “claim” according to Teva’s interpretation.

             3.     Teva’s remaining arguments lack merit.

      Teva first counters by arguing that if a drug product patent had to require the

presence of the NDA drug substance, this would render “drug substance” patent

category superfluous, because the drug product patent listing requirement would

alone require the listing of all drug substance patents. (Teva Br. at 37, 53.) This is



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incorrect, because the two categories of patents are distinct. A drug substance

patent requires only the drug substance per se, whereas a drug product patent

requires both the drug substance and some further aspect(s) of the drug product.

Thus, authorizing listing of one type of patent does not expressly authorize listing

of the other, even if both types of patents must require the presence of the drug

substance.

      Teva further counters by pointing to the broad general definition of “drug”

as including components of a drug. (Teva Br. at 29-30; see also Sanofi Br. at 19-

20.) But this general definition does not open up the Orange Book to patents on

any kind of “component” that might be found in the NDA product. First, as

discussed above, the Listing Statute conspicuously authorizes only one kind of

component patent for listing: a drug substance patent. (Supra at 31-33.)

      Second, as also discussed above, the Listing Statute does not merely require

that a product patent claim a “drug.” (Supra at 7, 11-13, 15.) It is far more specific

than that, requiring a product patent to claim one specific drug, namely “the drug

for which the applicant submitted the application.” 21 U.S.C. §

355(b)(1)(A)(viii)(I). The general definition of “drug” cannot be divorced from this

highly specific contextual language to loosen the Listing Requirements. As the

FDA has acknowledged, the meaning of the term “drug” in the Listing Statute




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“cannot be determined apart from its context.” 68 Fed. Reg. 36,676, 36,681 (June

18, 2003).

      Indeed, mechanically plugging the “component” aspect of the definition of

“drug” into the statutory phrase “claims the drug for which the applicant submitted

the application” creates a clear incongruity, because applicants do not submit their

NDAs for approval of only a component of their proposed drug, but rather for

approval of the entirety of their proposed drug product. This incongruity suggests

that the “component” aspect of the general definition of “drug” does not apply.

See, e.g., Lawson v. Suwannee Fruit & S.S. Co., 336 U.S. 198, 206 (1949)

(rejecting mechanical application of statutory definition because doing so would

have created an incongruity). At a minimum, it shows that it cannot be used to

open up the Listing Statute in the way Teva advocates.

      Similarly, although the definition of “drug” ostensibly includes the entirety

of a drug product, simply plugging that meaning of “drug” into the “claims the

drug” requirement of the Listing Statute is both paradoxical as applied to a drug

substance patent and redundant as applied to a drug product patent.

      In view of these incongruities that arise from simply plugging any aspect of

the definition of “drug” into the Listing Statute, its meaning in the Listing Statute

must be determined according to its context. The simplest way to harmonize the

“claims the drug” requirement with the rest of the Listing Statute is to construe the


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term as requiring specificity to the NDA product. Thus, in the context of a drug

substance patent, “claims the drug” requires claiming the specific NDA drug

substance per se. And in the context of a drug product patent, “claims the drug”

requires claiming the specific NDA product. Because a “drug product” must

contain a drug substance, a claim to a specific NDA drug product must require, at a

minimum, that the NDA drug substance be present in the claimed product.

                                       *****

      Teva points to the FDA’s prohibition against listing of intermediate and

metabolite patents, arguing that “FDA needed to distinguish” those kinds of

patents “because patents otherwise claiming components of an [NDA] product are

listable in the Orange Book. (Teva Br. at 30 (emphasis in original).) This is a pure

non-sequitur. As Teva itself points out, per FDA, intermediates and metabolites are

not present in the NDA product, and thus are not components of the NDA product.

(Id.) Excluding patents on non-components does not imply anything about what

types of component patents should be included in the Orange Book. In any event,

as noted above, the Listing Statute answers that question more directly by

authorizing the listing of only one kind of component patent: a drug substance

patent.11


11
  Nor does FDA’s exclusion of certain types of patents imply that all component
patents are listable. In declining to add to its list of excluded patents, the FDA has
expressly cautioned against making such inferences. 68 Fed. Reg. 36,676, 36687

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      In any event, Teva’s interpretation is especially problematic in the context of

claims like those in the Asserted Patents that are directed to the device part of a

drug-device combination product. As a matter of law under the FDCA, the FDA is

prohibited from regulating as a “drug” anything that meets the statutory definition

of a “device,” even if that item also meets the definition of a “drug.” Genus

Medical Techs. LLC v. FDA, 994 F.3d 631, 644 (D.C. Cir. 2021). As is evident

from Genus Medical, based on the interplay of these statutory definitions of “drug”

and “device,” it is the presence of an active ingredient in a “drug” that

distinguishes a “drug” from a “device.” Id. at 641.

      Teva has studiously ignored this central holding of Genus Medical in every

round of briefing below, and yet again in its opening brief on appeal. Sanofi’s

amicus brief ignores it, too. (Sanofi Br. at 3, 8, 15.) But the holding in Genus

Medical cannot be ignored. Applying the logic of Genus Medical to the Listing

Statute, if a patent claims only a “device,” in part by not requiring the presence of

an active ingredient, the FDA is prohibited by the FDCA from treating that patent

as if it claims a “drug.” Teva’s interpretation cannot be correct, because it would

permit precisely what the FDCA prohibits.


(June 18, 2003) (“We decline to revise the proposed rule to list every excluded
type of patent as requested by some comments. Based on our experience, we
believe that if we attempted to…specifically list all exclusions in the final rule,
there would be disagreements over whether the examples are all-inclusive or
whether other types of patents were excluded as well.).

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      To be sure, the FDA can and does regulate some drug-device combination

products as drugs. Critically, however, it is the presence and activity of a drug

substance in such products that leads the FDA to regulate a combination product as

a drug rather than as a device. 21 U.S.C. § 353(g)(1)(C), (D). Regardless, a device

retains its character and function as a device, even when incorporated into a drug-

device combination product. 21 U.S.C. § 353(g)(4) (distinguishing between “drug

constituent part” and “device constituent part” of a drug-device combination

product); 21 C.F.R. § 3.2(k) (recognizing that drug-device combination products

can have both a drug mode of action and a device mode of action).

      Finally, the language of the Listing Statute itself suggests that a patent

claiming only a device component of a drug-device combination product is not a

“drug product (formulation or composition) patent.” 21 U.S.C. §

355(b)(1)(A)(viii)(I). Although the FDCA and FDA regulations do not define

“formulation” or “composition,” they consistently use those terms to refer to the

types and amounts of the ingredients of a drug product.12 See, e.g., 21 U.S.C. §

355(j)(4)(H) (providing that the FDA will approve an ANDA unless, among other

things, “the composition of the drug is unsafe [to use] because of the type or


12
  Citing multiple pages of the Federal Register, Sanofi proposes that
“compositions” “encompasses any patent that reads on a finished dosage form.”
(Sanofi Br. at 21 & n.13 (citing 59 Fed. Reg. 50,338, 50,339, 50,343-45, and
50361).) It is not clear what statements Sanofi is referring to. In any event, Sanofi’s
proposition does not appear to be supported by that citation.

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quantity of inactive ingredients included or the manner in which the inactive

ingredients are included”) (emphases added); 21 C.F.R. § 314.127(a)(8)(i)(B)

(same language); 21 C.F.R. § 314.127(a)(8)(ii)(A)(2)-(6) (referring to various

changes relating to “inactive ingredients” as changes to the “composition” of a

drug product) (emphases added); 21 C.F.R. § 314.70(b)(2)(i) (identifying changes

to an approved NDA, including “changes in the qualitative or quantitative

formulation of the drug product, including inactive ingredients…”) (emphases

added); 21 C.F.R. § 314.200(e)(2) (requiring certain submissions to include

documentation “to establish the exact quantitative formulation of the drug (both

active and inactive ingredients)…”) (emphases added).13 By contrast, as noted

above, the FDCA refers a device component of a drug-device as a “device

constituent part.”

             4.      The Listing Statute should be narrowly construed in view of its
                     legislative history.

      The legislative history of the OBTA shows that the Listing Statute should be

construed narrowly, especially with respect to device patents, and even specifically

with respect to the Asserted Patents. It also reflects tacit congressional approval of

the In re Lantus decision. The OBTA added the “drug substance” and “drug



13
  As noted below, the Senate Amendment of the OBTA shows that the
“formulation or composition” parenthetical delimits what qualifies as a “drug
product” patent, and is not merely illustrative. (Infra at 41.)


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product” patent requirements, which did not appear in the prior version of the

Listing Statute. (Compare H.R. Rep. No. 116-47 at 9-10 (2019) with Orange Book

Transparency Act of 2020, Pub. L. No. 116-290, 134 Stat. 4889 at Section

(b)(1)(A)(viii) (Jan. 5, 2021).)

      As the Committee Report for the OBTA demonstrates, these requirements

were introduced expressly to preclude Orange Book listing of the very type of

device patents at issue here. Committee reports are a particularly authoritative

source for interpreting a statute. Garcia v. U.S., 469 U.S. 70, 76 (1984). Here,

when the Committee Report set forth the “Background and Need for Legislation,”

it explained that:

      some branded drug manufacturers. . . are submitting patents
      potentially for the purpose of blocking generic competition.3 . . .
      This legislation would help to ensure that the Orange Book is accurate
      and up-to-date, by specifying what information must be submitted to
      FDA and what information should be listed . . . .

H.R. Rep. No. 116-47 at 4 (2019) (emphasis added) (footnote in original).

      To support the observation that some branded drug manufacturers may be

submitting patents “for the purpose of blocking competition,” in footnote 3, the

Committee Report cited a 2018 article published in Nature Biotechnology. Id. That

article analyzed the proliferation of device patents in the Orange Book for drug

device combination products, including, most commonly, inhalers. (Appx1043-44

(reporting that “[t]he most common such products were inhalers . . .” and that



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“market exclusivity extensions” from drug delivery device patents listed with the

FDA were “particularly common among pens and inhalers.”).) The supporting data

for this article expressly included the Orange Book listing for ProAir.14

      Further, in the wake of In re Lantus, the Senate not only passed on an

opportunity to legislatively overrule that decision, it further tightened the “drug

substance” and “drug product” requirements as illustrated here with strike through

and underlining: “…claims the drug for which the applicant submitted the

application and is a drug substance (including active ingredient) patent or a drug

product (including formulation and or composition) patent.” (Compare Appx1117

with Appx1179.) This amendment implies that the drug product patent requirement

should be narrowly construed. It also suggests that in Congress’s view, In re

Lantus correctly held that patents claiming only device components of a drug-

device combination product do not belong in the Orange Book. After all, Congress

is presumed to be aware of the existing legal landscape when it passes legislation.

Miles v. Apex Marine Corp., 498 U.S. 19, 32 (1990).




14
  Appx1224 (citing row 7 of supporting data available at https://static-
content.springer.com/esm/art%3A10.1038%2Fnbt.4078/MediaObjects/41587_201
8_BFnbt4078_MOESM2_ESM.xlsx) (last accessed Aug. 29, 2024).


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        B.    The Asserted Patents do not require the presence of albuterol
              sulfate in the claimed inventions.

        It is undisputed that none of the Asserted Patents even mention albuterol

sulfate. And it is undisputed that none of the Asserted Patents have any claim that

requires the presence of albuterol sulfate in the claimed invention. Because the

Asserted Patents do not require the NDA drug substance to be present in the

claimed invention, they do not “claim” the NDA drug product, under the proper

interpretation of the Listing Statute. Thus, none of the Asserted Patents qualify for

listing as “drug product” patents, and they should be removed from the Orange

Book.

        In its argument, Teva tries to decouple the “claims the drug” requirement

from the “drug product” patent requirement. (Teva Br. at 19-20, 49; compare

sections I and II.) This deconstruction contravenes the plain text of the Listing

Statute, under which a “drug product” patent must be one that “claims the [NDA]

drug.” It also contravenes the FDA implementing regulation that couples these

requirements, stating that “[f]or patents that claim a drug product, the applicant

must submit information only on those patents that claim the drug product, as is

defined in § 314.3, that is described in the pending or approved NDA”. 21 C.F.R. §

314.53.

        Teva argues that three of the Asserted Patents “expressly claim the full

finished dosage form,” because those patents have claims directed to an inhaler,


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not just a dose counter. (Teva Br. at 52.) This argument misses the mark. FDA’s

own definitions require the active ingredient to be present in a “drug product” and

a “dosage form.” 21 C.F.R. § 314.3.15 None of the claims in any of the Asserted

Patents require the presence of albuterol sulfate, so none can particularly point out

or distinctly claim the NDA “drug product” or the “finished dosage form” of the

NDA.

       C.    Amneal’s interpretation of the Listing Statute best aligns with the
             goals of the Hatch-Waxman Act.

       Amneal’s interpretation of the Listing Statute preserves the intended balance

struck under the Hatch-Waxman Act. Listing a patent in the Orange Book

immediately attaches to that patent at least two extraordinary rights that unlisted

patents do not carry. First, it allows the NDA holder to trigger an automatic 30-

month stay of final FDA approval of any would-be competitor products—

effectively an automatic preliminary injunction during the first two and half years

of the patent litigation. 21 U.S.C. § 355(j)(5)(B)(iii). Second, if the NDA holder

prevails in the litigation on the listed patent, the remedy is an automatic injunction


15
   Pointing to an FDA guidance document, Teva asserts that the FDA has long
classified metered dose inhalers (MDIs) and their dose counters as drugs. (Teva Br.
at 15.) As to MDIs, Teva overlooks that, consistent with the FDA definition of
“drug product” and “dosage form,” the cited guidance document refers to MDIs as
“containing a drug substance.” (Appx1418.) As to dose counters, the cited
document says essentially the opposite of what Teva asserts, that “dose counters
frequently have been determined to be device components of combination
products.” (Appx1419 (emphasis added).)

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preventing final FDA approval until the listed patent expires. 35 U.S.C.

§ 271(e)(4)(A).

      The ability to get automatic preliminary and permanent injunctive relief is a

powerful right unique to Orange Book patents. In normal patent litigation, a

complete injunction barring a competitor from the market is neither guaranteed nor

the norm. Rather, the patentee can only obtain injunctive relief if it makes the

requisite showing under the eBay factors, a very high bar in many situations. eBay

Inc. v. MercExchange, LLC, 547 U.S. 388 (2006).

      Because Orange Book patents carry these powerful special rights, it makes

sense for the Listing Statute to be restrictive, permitting listing of patents in the

Orange Book only if they arose from the development efforts specific to a given

new drug. As the FDA has recognized, “All of the benefits afforded NDA holders

under the Hatch-Waxman Amendments, such as the 30-month stay, derive from

obtaining our approval of a particular drug product.” 68 Fed. Reg. 36,676, 36,681

(June 18, 2003). Requiring at least one claim of a listable drug product patent to

require the presence of the NDA drug substance ensures that patents only acquire

the special Orange Book rights if they actually relate to the development efforts

that Hatch-Waxman actually sought to incentivize—those undertaken to develop

the specific NDA product for which the patents are listed.




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      By contrast, automatically blocking competing medicines from market,

based on a patent to any component found in the drug product, skews the Hatch-

Waxman scales against one of its animating purposes: speeding access to

affordable medicines. Under Teva’s highly permissive reading of the Listing

Statute, patents having nothing to do with the drug development efforts for a given

product could be listed in the Orange Book, as long as the claimed invention, no

matter how inconsequential, was found in some part of the NDA product. The

OBTA was enacted specifically to curb the proliferation of such patent listings.

      The Asserted Patents illustrate that kind of unwanted proliferation. Because

the Asserted Patents are so wholly untethered from any particular NDA drug, they

are listed in connection with at least one NDA product beyond ProAir having

different active ingredients. (Appx310-11, Appx822, Appx825, Appx828,

Appx831, Appx834, Appx837-38, Appx840-41, Appx844-45, Appx848-49.) One

is listed in connection with 21 different products. (Appx1282.) Listing a given

patent for more than one NDA product is not necessarily problematic. But

requiring at least one claim that requires the presence of the active ingredient of

each product helps to ensure that the development efforts leading to the patent

were actually undertaken in connection with that NDA product.

      Contrary to admonitions by Teva and Amici, (Teva Br. at 54-56;

AstraZeneca Br. at 14-15; Sanofi Br. at 11), excluding patents from the Orange


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Book does not prevent brand companies from enforcing them, nor does it thwart

the goals of the Hatch-Waxman scheme. Brand companies are still permitted to

assert unlisted patents, even in the context Hatch-Waxman litigation premised on

properly-listed patents.16 Regardless, if the brand prevails in litigation only on

unlisted patents, they can still forestall generic entry, if the situation meets the

standards for obtaining such injunctive relief. If not, the generic product should be

permitted to enter the market, subject to available damages remedies, such as a

reasonable royalty. This is consistent with the Hatch-Waxman goal of promoting

generic competition. And it still rewards the patentee’s investment in innovation in

manner and degree commensurate with the equitable circumstances.

      Teva’s and Amici’s policy arguments to the contrary are baseless and

hyperbolic. First, Teva and Amici suggest that excluding patents from the Orange

Book will hurt would-be ANDA filers by obscuring the patent landscape that they

may have to contend with upon launch. (Teva Br. at 17-18, 54-56; Sanofi Br. at 4,

7, 11, 17-18, 25.) But various kinds of patents (e.g., process, packaging, and

metabolite) have long been excluded from the Orange Book. And would-be ANDA

filers have long been able to identify unlisted patents and assess the risks of being

sued and of incurring infringement liability. See, e.g., 68 Fed. Reg. 36,676, 36,685


16
 See, e.g., Merck Sharp & Dohme Corp. v. Sandoz Inc., No. 12-cv-3289, 2013
WL 591976 (D.N.J. Feb. 14, 2013) (permitting unlisted patents to be asserted in
Hatch-Waxman litigation alongside timely-listed patents).

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(June 18, 2003) (FDA relying on comments that “no ‘prudent generic company’

would rely solely on the Orange Book listings to evaluate patent information for

litigation exposure, particularly when all patents cannot be listed in the Orange

Book.”) Notably, Teva and Amici present no evidence of any scourge of unlisted

patents being asserted upon launch of generic products.

      Teva also suggests that Amneal’s interpretation would “clog the courts” by

increasing the risk of jury trials and injunctive proceedings, which Teva asserts is

“contrary to the express purpose of Hatch-Waxman.” (Teva Br. at 54-56.) And

Sanofi intimates that Hatch-Waxman litigation is “injunction-free” litigation.

(Sanofi Br. at 18.) But the Hatch-Waxman scheme expressly contemplates the use

of preliminary injunctions for preventing launch and setting and resetting ANDA

approval dates. 21 U.S.C. § 355(j)(5)(B)(iii)(IV). Indeed, the 30-month stay often

expires during Hatch-Waxman litigations, leading to jury trials and preliminary

injunction proceedings. See, e.g., Warner Chilcott Lab’ys Ireland Ltd. v. Mylan

Pharms. Inc., 451 F. App’x 935, 936 (Fed. Cir. 2011) (vacating the district court’s

preliminary injunction preventing the generic company from marketing its ANDA

product); Sciele Pharma Inc. v. Lupin Ltd., 684 F.3d 1253, 1256 (Fed. Cir. 2012)

(vacating the district court’s preliminary injunction preventing the generic

company from marketing its ANDA product).




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II.   Claim construction is not required.

      The Court should not remand for claim construction. Claim construction is

not required, and in any event, none of Teva’s proposed constructions would

qualify the Asserted Patents for listing. Teva’s demand for claim construction is

really just another bid to run the clock for as long as possible on the 30-month stay

that Teva should not have been able to obtain in the first place.

      Claim construction is not required here. As explained above, to qualify for

listing as a drug product patent that “claims the drug for which the applicant

submitted the application,” the patent must do more than simply be infringed by

the NDA product—it must particularly point out and distinctly claim that NDA

product. This is not a claim construction question where, as here, the claims on

their face do not particularly point out the albuterol sulfate drug substance of the

NDA product or require it to be present in the claimed invention.

      Moreover, not even Teva’s proposed constructions could change the result

of this appeal. None of Teva’s proposed constructions would require the presence

of albuterol sulfate. Instead, the proposed constructions posit merely that the

claims require some unspecified “active drug.” (Teva Br. at 45-46.) Even if Teva

prevails on such claim construction arguments, the Asserted Patents still would not

require the presence of albuterol sulfate in the claimed inventions. Remanding for




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claim construction would serve no legitimate purpose in the resolution of the

question presented in this appeal. The Court should affirm.

         CONCLUSION AND STATEMENT OF RELIEF SOUGHT

      The district court’s injunction ordering the Asserted Patents delisted should

be affirmed, and the Court should lift its stay of that injunction.




 August 30, 2024                             Respectfully submitted,
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                                     ADDENDUM

Section 505 of the Federal Food, Drug, and Cosmetic Act
21 U.S.C. § 355(b)(1)(A):

       Any person may file with the Secretary an application with respect to any drug
subject to the provisions of subsection (a). Such persons shall submit to the Secretary
as part of the application—

      (i)    full reports of investigations which have been made to show whether such
             drug is safe for use and whether such drug is effective in use;
      (ii) a full list of the articles used as components of such drug;
      (iii) a full statement of the composition of such drug;
      (iv) a full description of the methods used in, and the facilities and controls
             used for, the manufacture, processing, and packing of such drug;
      (v) such samples of such drug and of the articles used as components thereof
             as the Secretary may require;
      (vi) specimens of the labeling proposed to be used for such drug;
      (vii) any assessments required under section 355c of this title; and
      (viii) the patent number and expiration date of each patent for which a claim of
             patent infringement could reasonably be asserted if a person not licensed
             by the owner of the patent engaged in the manufacture, use, or sale of the
             drug, and that—

             (I)    claims the drug for which the applicant submitted the application
                    and is a drug substance (active ingredient) patent or a drug product
                    (formulation or composition) patent; or

             (II)   claims a method of using such drug for which approval is sought or
                    has been granted in the application.


21 U.S.C. § 355(c)(2) [relevant excerpt]

Patent information that is not the type of patent information required by subsection
(b)(1)(A)(viii) shall not be submitted under this paragraph.
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21 U.S.C. § 321 (Definitions; generally)

(g)(1) The term “drug” means (A) articles recognized in the official United States
Pharmacopoeia, official Homoeopathic Pharmacopoeia of the United States, or official
National Formulary, or any supplement to any of them; and (B) articles intended for
use in the diagnosis, cure, mitigation, treatment, or prevention of disease in man or
other animals; and (C) articles (other than food) intended to affect the structure or any
function of the body of man or other animals; and (D) articles intended for use as a
component of any article specified in clause (A), (B), or (C).

(h)(1) The term “device” (except when used in paragraph (n) of this section and in
sections 331(i), 343(f), 352(c), and 362(c) of this title) means an instrument, apparatus,
implement, machine, contrivance, implant, in vitro reagent, or other similar or related
article, including any component, part, or accessory, which is—

      (A) recognized in the official National Formulary, or the United States
      Pharmacopeia, or any supplement to them,
      (B) intended for use in the diagnosis of disease or other conditions, or in the
      cure, mitigation, treatment, or prevention of disease, in man or other animals, or
      (C) intended to affect the structure or any function of the body of man or other
      animals, and

      which does not achieve its primary intended purposes through chemical action
      within or on the body of man or other animals and which is not dependent upon
      being metabolized for the achievement of its primary intended purposes. The
      term “device” does not include software functions excluded pursuant to section
      360j(o) of this title.




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21 U.S.C. § 355(j)(5)(C)(ii)

Counterclaim to infringement action.

      (I)     In general

              If an owner of the patent or the holder of the approved application under
              subsection (b) for the drug that is claimed by the patent or a use of which
              is claimed by the patent brings a patent infringement action against the
              applicant, the applicant may assert a counterclaim seeking an order
              requiring the holder to correct or delete the patent information submitted
              by the holder under subsection (b) or (c) on the ground that the patent
              does not claim either—

              (aa) the drug for which the application was approved; or

              (bb) an approved method of using the drug.


21 C.F.R. § 314.3(b)

Definitions

*****

Dosage form is the physical manifestation containing the active and inactive
ingredients that delivers a dose of the drug product. This includes such factors as:

(1) The physical appearance of the drug product;
(2) The physical form of the drug product prior to dispensing to the patient;
(3) The way the product is administered; and
(4) The design features that affect frequency of dosing.

Drug product is a finished dosage form, e.g., tablet, capsule, or solution, that contains
a drug substance, generally, but not necessarily, in association with one or more other
ingredients.




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21 C.F.R. § 314.53(b) Patents for which information must be submitted and
patent for which information must not be submitted—

(1) General requirements [relevant excerpts; breaks added for readability]

An applicant described in paragraph (a) of this section must submit to its NDA the
required information, on the required FDA declaration form, set forth in paragraph (c)
of this section for each patent that claims the drug or a method of using the drug that is
the subject of the NDA or amendment or supplement to it and with respect to which a
claim of patent infringement could reasonably be asserted if a person not licensed by
the owner of the patent engaged in the manufacture, use, or sale of the drug product.

For purposes of this part, such patents consist of drug substance (active ingredient)
patents, drug product (formulation and composition) patents, and method-of-use
patents.

For patents that claim the drug substance, the applicant must submit information only
on those patents that claim the drug substance that is the subject of the pending or
approved NDA or that claim a drug substance that is the same as the active ingredient
that is the subject of the approved or pending NDA.

                                        *****
For patents that claim a drug product, the applicant must submit information only on
those patents that claim the drug product, as is defined in § 314.3, that is described in
the pending or approved NDA.
                                        *****
Process patents, patents claiming packaging, patents claiming metabolites, and patents
claiming intermediates are not covered by this section, and information on these
patents must not be submitted to FDA.




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                       CERTIFICATE OF COMPLIANCE

      This filing complies with the type-volume limitation of Federal Rule of

Appellate Procedure 27(d)(2). This filing contains 11,445 words.

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spaced typeface, 14-point Times New Roman font, using Microsoft Word 2016.


                                           /s/ Steven A. Maddox
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                           CERTIFICATE OF SERVICE

      I, Steven A. Maddox, hereby certify that on August 30, 2024 the foregoing

document was electronically filed with the Court using the Court’s CM/ECF systems,

which will send notifications to all counsel registered to receive electronic notices.



                                                      /s/ Steven A. Maddox
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